
31 N.Y.2d 991 (1973)
In the Matter of the Accounting of Edward Duchnowski, as Executor of Victoria Duchnowski, Deceased, Appellant. Wesley Duchnowski et al., Respondents.
Court of Appeals of the State of New York.
Submitted January 29, 1973.
Decided February 7, 1973.
Kevin Whelan for motion.
Albert V. Moore opposed.
Motion denied upon the ground that once an appeal lies as of right under subdivision (a) of CPLR 5601, all questions properly raised below may be reviewed on the ensuing appeal. Subdivision (a) of CPLR 5601 concerns the right to appeal and not the *992 scope of review, once an appeal is properly before the court. An appeal, therefore, taken on a dissent in the Appellate Division stating a question of law in appellant's favor is not limited in scope to the question of law stated (cf. Kaelin v. Warner, 27 N Y 2d 352; Cohen and Karger, Powers of the New York Court of Appeals, pp. 7, 257).
